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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

PAUL GRUNDY, et al.,

        Plaintiffs,                                       Case No. 2:20-cv-11231

v.                                                        HONORABLE STEPHEN J. MURPHY, III

FCA US LLC,

      Defendant.
______________________________/

                                       SCHEDULING ORDER

INITIAL DISCLOSURES EXCHANGED BY:
If blank and unless the parties stipulate otherwise, within 14 days after the
scheduling conference, or within 30 days for parties served or joined after the        3/10/21
scheduling conference. Unless ordered by the Court, filing the disclosures or a
notice of their exchange on the docket is unnecessary.

WITNESS LIST DISCLOSURE DUE:
If blank, witnesses must be listed in the Joint Final Pretrial Order. Unless           12/17/21
ordered by the Court, filing the lists or a notice of their disclosure on the docket
is unnecessary.

EXPERT WITNESS DISCLOSURES DUE:
If blank and unless the parties stipulate otherwise, by 90 days before the trial
date, or 30 days for pure rebuttal witnesses. Unless ordered by the Court, filing
the lists or a notice of their disclosure on the docket is unnecessary.

DISCOVERY ENDS:
Expert witness discovery shall be completed by this date or by 30 days after the
date for expert witness disclosure, whichever is later.
                                                                                       1/28/22
The Court will conference with the parties at the close of discovery and order
mediation in appropriate cases. Parties should be prepared to inform the Court
whether they would benefit from mediation.

CLASS CERTIFICATION MOTION DUE:                                                        4/20/22

DISPOSITIVE MOTIONS DUE:
Joinder of new parties or amendment of the pleadings shall occur only by Court         7/13/22
order.
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 JOINT FINAL PRETRIAL ORDER DUE:
 If blank, one week before the pretrial conference. All Rule 26(a)(3) pretrial
 disclosures shall be made by this date, and incorporated into the joint final
 pretrial order. Parties must comply with Local Rule 16.2.

 FINAL PRETRIAL CONFERENCE:
 This must be attended by at least one attorney who will conduct the trial for each
 party and by any unrepresented party. Because settlement is a main focus of the      11/23/22, 2:00 p.m.
 conference, counsel must bring their clients and/or any persons with full
 settlement authority with them to the conference.

 MOTIONS IN LIMINE DUE:
 If blank, ten days before the trial date.

 TRIAL   BRIEFS    and                           PROPOSED                 JURY
 INSTRUCTIONS DUE:
 If blank, five days before the trial date. Each proposed jury instruction must be
 accompanied by a citation to the legal authority that it supports. The Court may
 request briefing or oral argument on the contents of the instructions.

 TRIAL:
 This case will be scheduled for trial during a 30 day lagging trial docket period.   12/6/22, 9:00 a.m.
 After they have been notified of a trial term, it is counsel's responsibility to
 contact the case manager to ascertain the status of the trial docket.

 TRIAL TYPE:                                                                          JURY (X) BENCH ()

 LENGTH OF TRIAL:                                                                     20 days



      IT IS FURTHER ORDERED that the parties shall APPEAR for a joint

telephonic status conference on February 9, 2022 at 10:00 a.m. The Notice to

Appear with call-in instructions will be docketed closer to the date for the status call.

       SO ORDERED.

                                                    s/Stephen J. Murphy, III
                                                    STEPHEN J. MURPHY, III
                                                    United States District Judge

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 25, 2021, by electronic and/or ordinary mail.

                                                    s/David P. Parker
                                                    Case Manager


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